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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,
       v.                                        CRIMINAL ACTION NO.
                                                 1:16-cr-00248-JPB
 TRAVIS BALL,

              Defendant.

                                      ORDER

      Before the Court are two letters from Defendant Travis Ball (“Ball”) filed

April 17, 2020, and July 3, 2020, which the Clerk of Court construed as a Motion

for Immediate Release from Custody (ECF No. 136) and a Motion for Criminal

Charges to Be Filed (ECF No. 145), respectively. Having reviewed and fully

considered the letters, the Court finds that there is no basis upon which to provide

the relief requested therein. Ball has neither stated the grounds for the requested

relief nor has he cited any law that would authorize the Court to take the actions he

urges. Accordingly, both motions are DENIED.

      SO ORDERED this 11th day of January, 2021.
